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                           UNITED STATES DISTRICT COURT

                               DISTRICT OF OREGON

                                PORTLAND DIVISION

LAWRENCE P. CIUFFITELLI, for himself         Case No. 3:16-cv-00580-AC
and as Trustee of CIUFFITELLI
REVOCABLE TRUST, et al.,                     JOINT STIPULATION RESOLVING
                                             MOTION TO COMPEL (DKT. NO. 364) IN
                 Plaintiffs,                 PART
       v.

DELOITTE & TOUCHE LLP;
EISNERAMPER LLP; SIDLEY AUSTIN
LLP; TONKON TORP LLP; TD
AMERITRADE, INC.; INTEGRITY BANK
& TRUST; and DUFF & PHELPS, LLC

                 Defendants.

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       WHEREAS, on September 21, 2018, Deloitte filed a Motion to Compel Production of

Documents (“Motion”), seeking to compel Plaintiffs to produce financial condition and damages

documents (Dkt. No. 364);

       WHEREAS, after Deloitte filed its Motion, and in an effort to resolve the damages

document portion of the motion, Plaintiffs produced additional documents. Specifically, on

September 20, 2018, October 10, 2018, and October 29, 2018, Plaintiffs made additional

productions of account or brokerage statements reflecting the purchase, sale, rollover, and

interest payments or other amounts received on the securities for which they claim damages

against Deloitte (the “Additional Productions”);

       WHEREAS, the Additional Productions resolved the damages documents disputes

described in the Motion with respect to Plaintiffs Lawrence Ciuffitelli and William Ramstein and

significantly narrowed the dispute regarding Plaintiff Andrew Nowak;

       WHEREAS, with respect to Mr. Nowak, Deloitte asserts that account statements

reflecting three interest payments in 2015 and 2016 on claimed securities (“the Outstanding

Interest Payments”) are still outstanding;

       WHEREAS, Deloitte asserts that the Outstanding Interest Payments would have been

made to Mr. Nowak’s US Bank Account in October 2015 and January 2016 and to Mr. Nowak’s

Charles Schwab Account in December 2015 or January 2016 (“the Additional Statements”);

       WHEREAS, although Mr. Nowak (who is in his 70's) has made efforts to obtain

responsive documents, Deloitte asserts that he has not yet produced the Additional Statements;

       WHEREAS, Mr. Nowak, through undersigned counsel, agrees to continue to make

efforts to produce the Additional Statements by December 7, 2018;

       WHEREAS, Mr. Nowak may petition this Court for an extension if he is unable to



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comply by the December 7, 2018 date above;

       WHEREAS, if Mr. Nowak is unable to provide documentation in the form of the

Relevant Statements to confirm or deny the Outstanding Interest Payments by the date above or

any extended date approved by this Court, the parties stipulate that Exhibit D to each of Mr.

Nowak’s Receiver Packets (NOWAK_0001260 and NOWAK 0001447-1448) will control for

purposes of determining whether Mr. Nowak received the three interest payments;

       WHEREAS, the parties have conferred and agree, based on the representations above,

that the Court’s intervention is not necessary to resolve the dispute regarding damages

documents described in Deloitte’s motion to compel;

       THE PARTIES HEREBY AGREE AND STIPULATE THAT the portion of Deloitte’s

Motion to Compel (Dkt. 364) relating to Plaintiffs Damages Documents (Section III.B) is taken

off the Court’s November 13, 2018 calendar.

       THE PARTIES HEREBY ALSO AGREE AND STIPULATE THAT the other dispute

described in Deloitte’s Motion to Compel (Dkt. 364) (Section III.A), relating to Plaintiffs’

financial condition documents, remains unresolved, and therefore, the hearing on November 13,

2018 should continue as scheduled, as to those issues.




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Dated: November 9, 2018


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